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                                     UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
11        CLINTON BROWN,
                                                                     NO. CV 22-9203-MEMF (KS)
12                         Plaintiff
13                 v.                                                CASE MANAGEMENT AND
                                                                     SCHEDULING ORDER IN CIVIL
14        CLARK R. TAYLOR, AICP, The                                 RIGHTS CASES
          Los Angeles County Department of
15        Regional Planning,
16                         Defendant.
17
18
19               This civil rights case has been referred to Magistrate Judge Karen L.
20    Stevenson for pretrial proceedings.
21               This Order governs discovery and pretrial motions in this case. Please read
22    this Order carefully. It may differ from similar orders by other judicial officers,
23    and even from prior iterations of this Order used by this Court in other civil rights
24    cases. Where this Order imposes a requirement that differs from Judge Stevenson’s
25    Procedures,1 this Order governs. The Court adopts this Order to facilitate the just,
26    speedy, and inexpensive determination of this case.
27
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          Judge Stevenson’s Procedures are available at: http://www.cacd.uscourts.gov/honorable-karen-l-stevenson.
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 1    I. Discovery
 2         A. Cutoff Date
 3            All discovery must be completed on or before one hundred eighty (180)
 4    days from the date of this Order. No party may take discovery after that date
 5    without the Court’s prior approval, which it will grant only in exceptional
 6    circumstances and upon a showing of good cause.
 7            Discovery taken by oral deposition is complete when questioning ceases.
 8    Discovery taken by written request (interrogatories, requests for production of
 9    documents and things, deposition upon written question, and requests for
10    admissions) is complete on the date the written response to the request is due.
11         B. Availability of Discovery
12            Parties may obtain discovery regarding any matter, not privileged, that is
13    relevant to the claim or defense of any party and proportional to the needs of the
14    case. See FED. R. CIV. P. 26(b)(1). Pro se litigants are entitled to discovery in civil
15    rights actions to the same extent as litigants represented by counsel. The Court may
16    order a complete or partial stay of discovery in appropriate circumstances, including
17    when a defense of qualified immunity is raised.
18         C. Oral Depositions
19            Any oral deposition must be scheduled to commence at least fourteen (14)
20    calendar days after service of the deposition notice and at least five (5) court days
21    before the discovery cutoff date. Pursuant to Federal Rule of Civil Procedure
22    30(a)(2), leave of Court is given to depose Plaintiff if Plaintiff is confined in prison.
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24    //
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 1          D. Written Discovery (Interrogatories, Production of Documents and
 2            Things, Depositions Upon Written Questions, and Requests for
 3            Admissions)
 4            A party must serve any interrogatories, requests for production of documents
 5    and things, notices of deposition upon written question, or requests for admissions at
 6    least forty-five (45) calendar days before the discovery cutoff date.
 7    II.     Motions
 8          A. Discovery Motions
 9            Any motion challenging the adequacy of a discovery response or seeking an
10    order compelling further discovery must be filed and served no later than thirty (30)
11    calendar days after the discovery cutoff date. If no party to the action is in custody,
12    Local Rule 37-2 governs the preparation and filing of any discovery motion, unless
13    the parties have received Court approval by stipulation of an alternative procedure
14    (e.g., a filing of Motion, Opposition, and Reply with specified due dates). If any
15    party to the action is in custody, the parties are excused from Local Rule 37-2’s joint
16    stipulation requirement. In that case, no hearing date will be set and any opposition
17    must be filed no later than twenty-one (21) days from service of the motion. Neither
18    the motion nor the opposition, including memoranda in support, may exceed ten
19    (10) pages in length unless leave of Court is obtained in advance. Any reply may be
20    filed within ten (10) days of service of the opposition and is limited to eight (8)
21    pages in length. The Court expects that the parties will resolve discovery problems
22    among themselves whenever possible. See Local Rule 37-1.
23          B. Substantive Motions
24            Any motions directed to the Court’s jurisdiction or to the merits of any claim
25    or defense (such as a Motion to Dismiss or a Motion for Summary Judgment) must
26    be filed and served not later than two hundred forty (240) days from the date of this
27    Order.     If no party to the action is in custody, the regular Local Civil Rules
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 1    governing the noticing and briefing of motions apply. See Local Rules 7, 56. If any
 2    party to the action is in custody, no hearing date will be set. Any opposition to the
 3    motion must be filed and served within twenty-one (21) calendar days after service
 4    of the motion, and an optional reply may be filed within fourteen (14) calendar days
 5    after service of the opposition. The Court will deem the motion submitted for
 6    decision based on the papers timely filed and without oral argument unless
 7    otherwise ordered.
 8           The Court may deem the failure to file a timely opposition to a motion to
 9    constitute the non-movant’s consent to the granting of the relief sought. See
10    Local Rule 7-12.
11    III.   Status Report
12           Each party must file and serve a status report no later than one hundred
13    twenty (120) days from the date of this Order. The status report must contain the
14    following information:
15           (a) a summary of the proceedings to date and a statement of the principal
16    issues raised by the case;
17           (b) a statement informing the Court whether all parties have been served and,
18    if not, a proposed deadline by which service will be completed;
19           (c) a statement informing the Court whether other parties will be added or
20    amended pleadings will be filed and, if so, a proposed deadline by which those steps
21    will be taken;
22           (d) a description of any discovery completed and a schedule for any future
23    discovery;
24           (e) a list of contemplated motions, if any, along with proposed dates for the
25    filing and hearing of such motions;
26           (f) an estimate of the time likely to be required for trial, and a statement as to
27    whether trial by jury is desired and has been properly requested;
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 1           (g) a description of any settlement negotiations that have occurred, and a
 2    recommendation as to the form of settlement conference or other method of
 3    alternative dispute resolution that would be most appropriate given the nature of this
 4    case; and
 5           (h) any suggestions the parties may wish to make regarding the management
 6    of this action.
 7           The parties are strongly encouraged to file a joint status report, when feasible.
 8    IV.    Compliance with Rules
 9           All parties, represented and unrepresented, whether in custody or not, must
10    comply with the Federal Rules of Civil Procedure, the Local Rules of this Court,
11    Judge Stevenson’s Policies and Procedures, and this Order unless this Court
12    expressly excuses compliance.
13           If Plaintiff is in custody and is proceeding pro se, compliance with the
14    following Local Rules is excused: 7-3, 7-14, 7-15 (all substantive motions will be
15    deemed submitted the day after the reply papers are due), 26-1, 37-1, 37-2, 37-3,
16    and 65-1 (but only to the extent that it requires motions for temporary restraining
17    orders or preliminary injunctions to be set for hearing on the calendar).
18           IT IS SO ORDERED.
19
20    DATED: February 21, 2023
21                                              ___________________________________
                                                      KAREN L. STEVENSON
22
                                                UNITED STATES MAGISTRATE JUDGE
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